         Case 24-80060-sgj11                     Doc 1     Filed 08/05/24 Entered 08/05/24 00:10:31                         Desc Main
                                                          Document      Page 1 of 21
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Northern                   District of Texas
                                       (State)
 Case number (If known):                                  Chapter 11
                                                                                                                             Check if this is an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor’s name                                BUCA C, LLC



 2. All other names debtor used
   in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX




 4. Debtor’s address                         Principal place of business                       Mailing address, if different from principal place
                                                                                               of business

                                             4700 Millenia Boulevard, Suite 400
                                             Number      Street                                Number      Street



                                                                                               P.O. Box

                                             Orlando, FL 32839
                                             City        State         ZIP Code                City       State           ZIP Code

                                                                                               Location of principal assets, if different from
                                                                                               principal place of business

                                             Orange
                                             County
                                                                                               Number      Street




                                                                                               City               State        ZIP Code




 5. Debtor’s website (URL)                  https://www.bucadibeppo.com/
         Case 24-80060-sgj11           Doc 1         Filed 08/05/24 Entered 08/05/24 00:10:31                                  Desc Main
                                                    Document      Page 2 of 21
Debtor    BUCA C, LLC                                                                        Case Number (if known) ___________________________



 6. Type of debtor
                                     ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     ☐ Partnership (excluding LLP)
                                     ☐ Other. Specify:

                                     A. Check one:
 7. Describe debtor’s business
                                     ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                     ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     ☒ None of the above


                                     B. Check all that apply:

                                     ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                     ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                     ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         722511

 8. Under which chapter of the       Check one:
    Bankruptcy Code is the
                                     ☐ Chapter 7
    debtor filing?
                                     ☐ Chapter 9
                                     ☒ Chapter 11. Check all that apply:
                                                   ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                         ☐ A plan is being filed with this petition.
                                                         ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                     ☐ Chapter 12
 9. Were prior bankruptcy cases      ☒ No
    filed by or against the debtor
                                     ☐ Yes. District                                  When                      Case number
    within the last 8 years?
                                                                                               MM / DD / YYYY
    If more than 2 cases, attach a
                                              District                                When                      Case number
    separate list.
                                                                                               MM / DD / YYYY




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         Case 24-80060-sgj11            Doc 1        Filed 08/05/24 Entered 08/05/24 00:10:31                                 Desc Main
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Debtor    BUCA C, LLC                                                                      Case Number (if known) ___________________________


                                      ☐ No
 10. Are any bankruptcy cases
    pending or being filed by a       ☒ Yes. Debtor See Schedule 1                                          Relationship
    business partner or an
                                               District                                                     When
    affiliate of the debtor?
                                                                                                                            MM / DD / YYYY
    List all cases. If more than 1,            Case number, if known
    attach a separate list.



 11. Why is the case filed in this    Check all that apply:
    district?
                                      ☐ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ☒ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have      ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                        Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                              ☐ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                              ☐ It needs to be physically secured or protected from the weather.
                                              ☐ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                              ☐ Other



                                               Where is the property?
                                                                           Number          Street




                                                                           City                                            State ZIP Code


                                               Is the property insured?
                                               ☐ No
                                               ☐ Yes. Insurance agency

                                                          Contact name

                                                          Phone




            Statistical and administrative information



 13. Debtor’s estimation of           Check one:
    available funds                   ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                      ☐ 1-49                             ☐ 1,000-5,000                             ☐ 25,001-50,000
 14. Estimated number of              ☐ 50-99                            ☐ 5,001-10,000                            ☐ 50,001-100,000
    creditors
                                      ☐ 100-199                          ☐ 10,001-25,000                           ☐ More than 100,000
                                      ☒ 200-999

 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
         Case 24-80060-sgj11               Doc 1          Filed 08/05/24 Entered 08/05/24 00:10:31                                Desc Main
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Debtor    «Debtors_Name»LLC                                                                              Case Number (if known) ___________________________




 15. Estimated assets                    ☐ $0-$50,000                        ☐ $1,000,001-$10 million                   ☐ $500,000,001-$1 billion
                                         ☐ $50,001-$100,000                  ☒ $10,000,001-$50 million                  ☐ $1,000,000,001-$10 billion
                                         ☐ $100,001-$500,000                 ☐ $50,000,001-$100 million                 ☐ $10,000,000,001-$50 billion
                                         ☐ $500,001-$1 million               ☐ $100,000,001-$500 million                ☐ More than $50 billion


                                         ☐ $0-$50,000                           ☐ $1,000,001-$10 million                ☐ $500,000,001-$1 billion
 16. Estimated liabilities               ☐ $50,001-$100,000                     ☐ $10,000,001-$50 million               ☐ $1,000,000,001-$10 billion
                                         ☐ $100,001-$500,000                    ☒ $50,000,001-$100 million              ☐ $10,000,000,001-$50 billion
                                         ☐ $500,001-$1 million                  ☐ $100,000,001-$500 million             ☐ More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on      08/04/2024
                                                              MM / DD / YYYY


                                                                                                         William Snyder
                                             Signature of authorized representative of debtor            Printed name


                                             Title Chief Restructuring Officer




 18. Signature of attorney
                                                                                                        Date         8/4/2024
                                             Signature of attorney for debtor                                         MM   / DD / YYYY

                                             Amber M. Carson

                                             Printed name
                                             Gray Reed
                                             Firm name
                                             1601 Elm Street, Suite 4600
                                             Number           Street
                                             Dallas, TX 75201
                                             City     State      ZIP Code

                                            (469) 320-6199                                            acarson@grayreed.com

                                             Contact phone                                             Email address

                                             Texas Bar No. 24075610                                           Texas

                                             Bar number                                                       State


 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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    Debtor      BUCA C, LLC                                                                                    Case Number (if known) ___________________________




     Fill in this information to identify the case:

     United States Bankruptcy Court for the:


     Northern                    District of Texas
                                           (State)
     Case number (If known):                                   Chapter 11
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
`


                                                                             Schedule 1

                              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

      On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11 case
of BUCA Texas Restaurants, L.P.

BUCA (Celebration), LLC
BUCA (Ex), LLC
BUCA (Minneapolis), Inc.
BUCA C, LLC
BUCA Investments, Inc.
BUCA Restaurants 2, Inc.
BUCA Restaurants, Inc.
BUCA Sales & Marketing, LLC
BUCA Texas Beverage, Inc.
BUCA Texas Restaurants, L.P.




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       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Boards it was
desirable and in the best interests of the Company that independent managers and directors, as
applicable, be engaged and appointed to serve on the Boards;

        FURTHER RESOLVED, that Chris Williams and Curt Lindeman were appointed as such
independent managers and directors and that such appointments, as applicable, be, and hereby are,
ratified and approved in all respects;




                                                                                        business
                                                                   1




                        hereby




1
    Main Street Capital Corporation and MSC Income Fund, Inc., both members of BUCA C, LLC, a Florida limited
                         Lender Members


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                                                          be and hereby is appointed as the Chief
Restructuring Officer of the Company, effective as of July 8, 2024, in accordance with the terms
and conditions of that certain engagement letter, dated July 8, 2024, by and between CR3 Partners,
LLC and BUCA C, LLC, a Florida limited liability company (as amended, the Agreement ; and
in connection therewith, Mr. Snyder shall report to the Boards and shall have such authority as is
provided for in the Agreement and as may be further modified or dictated by the Boards in his
capacity as Chief Restructuring Officer or to such other positions as he may hold with the
Company;

         FURTHER RESOLVED, that
                                                                                     Company




                                       CR3 Partners, LLC       CR3 Partners
                                                                                            assist




           CR3 Partners

                                      Stout Capital, LLC
                                                                                        assist




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          funds




                                  , that, in connection with the commencement of the Chapter 11
Cases, the Authorized           are authorized,                  directed to seek approval of a cash
                                               Cash Collateral Order ) and the Authorized
be, and each hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any
and all agreements, instruments, or documents, by or on behalf of the Company, necessary to
implement the Cash Collateral Order, as well as any additional or further agreements for the use
                                                                        s, which agreement(s) may




       FURTHER RESOLVED, that the sole managing member of BUCA (EX), LLC, a Florida
limited liability company BUCA (EX) hereby approves and agrees to amend the Operating
Agreement and Regulations of BUCA (EX), dated February 14, 2011, by deleting the word
                    Section 1(c) of Article XVI;



        FURTHER RESOLVED, that the managers of BUCA SALES & MARKETING, LLC, a
Florida                             BUCA Sales & Marketing
amend the Operating Regulations of BUCA Sales & Marketing, dated March 19, 2009, by deleting
                           Section 1(c) of Article XVI;




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       FURTHER RESOLVED, that the sole general partner and the sole limited partner of
BUCA Texas Restaurants, L.P., a Texas limited partnership BUCA Texas                        s
and agrees to amend the Agreement of Limited Partnership of BUCA Texas, dated August 4, 2000,
by deleting                                     Section 11.1(c);

         FURTHER RESOLVED, that the sole limited partner of BUCA Texas hereby waives the
requirement of Section 153.155(4) of the Texas Business Organizations Code and does hereby
state its intention for the current sole general partner to not withdraw and remain as the sole general
partner during the entirety of the Chapter 11 cases;



         FURTHER RESOLVED
                                                                                       empowered




         FURTHER RESOLVED




                                      [Signature pages follow]




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                                       Main Street Capital Corporation,
                                       a member of Buca C, LLC


                                       By: _________________________
                                       Name: Diego Fernandez
                                       Title: Managing Director


                                       MSC Income Fund, Inc.,
                                       a member of Buca C, LLC


                                       By: _________________________
                                       Name: Diego Fernandez
                                       Title: Managing Director




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    Amber M. Carson (TX Bar No. 24075610)
    Jason S. Brookner (TX Bar No. 24033684)
    Micheal W. Bishop (TX Bar No. 02354860)
    Emily F. Shanks (TX Bar No. 24110350)
    GRAY REED
    1601 Elm Street, Suite 4600
    Dallas, Texas 75201
    Telephone: (214) 954-4135
    Facsimile: (214) 953-1332
    Email:       acarson@grayreed.com
                 jbrookner@grayreed.com
                 mbishop@grayreed.com
                 eshanks@grayreed.com

    Proposed Counsel to the Debtors
    and Debtors in Possession

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                          §
    In re:                                                §       Chapter 11
                                                          §
    BUCA C, LLC1                                          §       Case No. 24-[●]
                                                          §
                            Debtor.                       §       (Joint Administration Requested)
                                                          §

                               LIST OF EQUITY SECURITY HOLDERS2

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.

             Equity Holder                Address of Equity Holder               Percentage of Equity Held
                                           4700 Millenia Boulevard, Suite
             BC Nominee, LLC                                                      90% member and voting interest
                                              400, Orlando, FL 32839
                                           4700 Millenia Boulevard, Suite
               BUCA, LLC                                                               90% economic interest
                                              400, Orlando, FL 32839
                                           1300 Post Oak Blvd., 8th Floor,
     Main Street Capital Corporation                                                             6%
                                                Houston, TX 77056
                                           1300 Post Oak Blvd., 8th Floor,
         MSC Income Fund, Inc.                                                                   4%
                                                Houston, TX 77056



1
  The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
as follows: BUCA Texas Restaurants, L.P. (3262); BUCA Texas Beverage, Inc. (3995); BUCA C, LLC (8220);
BUCA Sales & Marketing, LLC (4258); BUCA Investments, Inc. (5575); BUCA Restaurants, Inc. (9725); BUCA
Restaurants 2, Inc. (2187); BUCA (Celebration), LLC (3412); BUCA (Ex), LLC (3092); BUCA (Minneapolis), Inc.
(2474). The Debtors’ principal offices are located at 4700 Millenia Boulevard, Suite 400, Orlando, Florida 32839.
2
 This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
commencement of the chapter 11 case.
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    Amber M. Carson (TX Bar No. 24075610)
    Jason S. Brookner (TX Bar No. 24033684)
    Micheal W. Bishop (TX Bar No. 02354860)
    Emily F. Shanks (TX Bar No. 24110350)
    GRAY REED
    1601 Elm Street, Suite 4600
    Dallas, Texas 75201
    Telephone: (214) 954-4135
    Facsimile: (214) 953-1332
    Email:       acarson@grayreed.com
                 jbrookner@grayreed.com
                 mbishop@grayreed.com
                 eshanks@grayreed.com

    Proposed Counsel to the Debtors
    and Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                          §
    In re:                                                §       Chapter 11
                                                          §
    BUCA C, LLC1                                          §       Case No. 24-[●]
                                                          §
                            Debtor.                       §       (Joint Administration Requested)
                                                          §

                             CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

    Shareholder                                               Approximate Percentage of Shares Held
    BC Nominee, LLC                                                90% member and voting interest
    BUCA, LLC                                                          90% economic interest




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
as follows: BUCA Texas Restaurants, L.P. (3262); BUCA Texas Beverage, Inc. (3995); BUCA C, LLC (8220);
BUCA Sales & Marketing, LLC (4258); BUCA Investments, Inc. (5575); BUCA Restaurants, Inc. (9725); BUCA
Restaurants 2, Inc. (2187); BUCA (Celebration), LLC (3412); BUCA (Ex), LLC (3092); BUCA (Minneapolis), Inc.
(2474). The Debtors’ principal offices are located at 4700 Millenia Boulevard, Suite 400, Orlando, Florida 32839.
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      Fill in this information to identify the case:

      Debtor name    BUCA Texas Restaurants, L.P.
      United States Bankruptcy Court for the: Northern               District of Texas

      Case number (If known):
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code      email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                              contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated, total claim amount and deduction for value of
                                                                            services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff
                                                                                                                                                        $6,856,050.01
1     Sysco                                  c/o Legal Department
      1390 Enclave Parkway                   P: 281-584-1390                   Food provider
      Houston, TX 77077-2099                 customer@sysco.com

      Edward Don                             Attn: CEO or General Counsel                                                                               $2,356,109.14
2                                                                              Small ware,
      2562 Paysphere Circle                  P: 800-777-4366
                                                                            packaging provider
      Chicago, IL 60674                      webmaster@don.com
      Country Club Plaza KC Partners                                                                                                                     $609,750.74
3                                    Attn: CEO or General Counsel
      LLC
                                     P: 816-753-0100                               Landlord
      4706 Broadway
                                     info@countryclubplaza.com
      Kansas City, MI 64112
                                                                                                                                                         $393,196.95
4                                            Attn: CEO or General Counsel
      AFA Protective Systems Inc
                                             P: 781-848-6200
      155 Michael Dr                                                         Fire alarm / safety
                                             F: 781-380-3694
      Syasset, NY 11791
                                             national@afap.com
                                                                                                                                                         $382,694.28
5     Brinks Inc                             Attn: CEO or General Counsel
                                                                                Armored car
      7373 Solutions Center                  P: 804-289-9600
                                                                                  service
      CHICAGO, IL 60677-7003                 csc-dfw@brinksinc.com
                                                                                                                                                         $340,671.81
6     KRE YTC Venture LLC                    Attn: CEO or General Counsel
      26074 Network Place                                                          Landlord
      CHICAGO, IL 60673-1260
                                                                                                                                                         $284,358.37
7     CH Robinson Worldwide Inc              Attn: CEO or General Counsel
                                                                             Produce provider
      14701 Charlson Rd                      P: 952-683-2800
                                                                              (PACA Claim)
      Eden Prairie, MN 55347
                                                                                                                                                         $282,661.33
8     Hansen Foodservice                     Attn: CEO or General Counsel
                                                                                Hawaii Food
      96-1282 Wiahona St                     P: 808-456-3334
                                                                                 provider
      Pearl City, HI 96782                   F: 808-455-5666



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 1
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                                                     Document     Page 19 of 21
                   BUCA Texas Restaurants, L.P.                                              Case number (if known)
    Debtor
                 Name



     Name of creditor and complete      Name, telephone number,         Nature of the         Indicate if   Amount of unsecured claim
     mailing address, including zip     and email address of            claim (for            claim is      If the claim is fully unsecured, fill in only
     code                               creditor contact                example, trade        contingent,   unsecured claim amount. If claim is partially
                                                                        debts, bank loans,    unliquidate   secured, fill in total claim amount and
                                                                        professional          d, or         deduction for value of collateral or setoff to
                                                                        services, and         disputed      calculate unsecured claim
                                                                                                            Total              Deduction        Unsecure
                                                                                                            claim, if          for value of     d claim
                                                                                                            partially          collateral
                                                                                                            secured            or setoff
     ARA Properties Op P'Shp                                                                                                                    $248,333.36
9                                      Attn: CEO or General Counsel
     ID 065629065630 Dept 880044
                                                                             Landlord
     USRP Funding 2001-ALP
     Phoenix, AZ 85038-9650
                                                                                                                                              $241,401.76
10 7979 Center LLC                     Attn: Leo Shahinian
   60 West Cochran Street              P: 805-823-8388                       Landlord
   Simi Valley, CA 93065
                                                                                                                                              $233,154.20
11 EEC Acqusition, LLC                 Attn: CEO or General Counsel
   PO Box 74008980                     P: 888-887-1675                       Landlord
   CHICAGO, IL 60674-8980              M&A@Smartcaresolutions.com
                                                                                                                                              $229,640.81
12 First Exquisite Homes L.L.C         Attn: CEO or General Counsel
   3404 N Narcissus Ave                P: 206-653-6688                       Landlord
   Broken Arrow, OK 74012
                                                                                                                                              $227,432.96
13 Nationwide Realty Investors         Attn: CEO or General Counsel
   375 North Front St
                                       P: 614-857-2330                       Landlord
   Suite 200
   Columbus, OH 43215
                                                                                                                                              $224,688.58
14 Ecolab                              Attn: CEO or General Counsel       Dish machine,
   6233 W 65Th St                      P: 708-496-5064                  cleaning supplies,
   Chicago, IL 60638                   F: 708-496-5007                     pest control
                                                                                                                                              $210,849.16
15 44 Platt Brothers LLC
                                       Attn: Jeffrey M. Platt, Member
   29 Pheasant Ridge Drive                                                   Landlord
                                       pdamin@lemerygreisler.com
   Loudonville, NY 12211

                                                                                                                                              $195,333.50
16 Valpak Direct Marketing Systems Attn: CEO or General Counsel
   1 Valpak Ave North              P: 800-661-0967                      Mailer/advertising
   St Petersburg, FL 33716
                                                                                                                                              $175,584.53
17 Ben Hur Celebration LLC             Attn: CEO or General Counsel
   2400 US Highway 1                                                         Landlord
   North Brunswick, NJ 08902
     Cashman and Hobbes LLC            Attn: CEO or General Counsel                                                                           $172,890.58
18
     680 Ridgecrest Rd                                                       Landlord
     Canyon, CA 94516
                                                                                                                                              $160,808.78
19 Pavillion Holdings LLC              Attn: Tom Tait
   3131 E Camelback Road               P: 602-330-0148
                                                                             Landlord
   Suite 310                           laurie@taitdevelopment.com;
   Phoenix, AZ 85016                   lindsi@theburgesslawgroup.com
     Johnson Controls US Holdings                                                                                                             $154,922.55
20
     LLC                               Attn: John Donofrio               Fire protection,
     5757 N. Green Bay Ave.            P: 877-862-0697; 866-496-1999      security, and
     PO Box 591                                                          HVAC controls
     Milwaukee, WI 53201



    Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                           page 2
            Case 24-80060-sgj11             Doc 1      Filed 08/05/24 Entered 08/05/24 00:10:31                               Desc Main
                                                      Document     Page 20 of 21

     Name of creditor and complete      Name, telephone number,          Nature of the        Indicate if   Amount of unsecured claim
     mailing address, including zip     and email address of             claim (for           claim is      If the claim is fully unsecured, fill in only
     code                               creditor contact                 example, trade       contingent,   unsecured claim amount. If claim is partially
                                                                         debts, bank loans,   unliquidate   secured, fill in total claim amount and
                                                                         professional         d, or         deduction for value of collateral or setoff to
                                                                         services, and        disputed      calculate unsecured claim
                                                                                                            Total              Deduction        Unsecure
                                                                                                            claim, if          for value of     d claim
                                                                                                            partially          collateral
                                                                                                            secured            or setoff
                                                                                                                                                $154,122.78
21 City Investors XXX LLC              Attn: Chief Real Estate Officer
   505 Fifth Avenue S., Suite 900      P: 206-342-2025                        Landlord
   Seattle, WA 98104                   Info@VulcanRealEstate.com
                                                                                                                                              $151,735.10
22 Forest City Bessemer Court          Attn: CEO or General Counsel
     1700 3rd Ave North                P: 205-424-4060                        Landlord
     Bessemer, AL 35020

                                                                                                                                              $151,518.28
23 Blau Family LLC                     Attn: Carl Blau
   3982 Archdale Rd                    P: 818-886-6848                        Landlord
   Encino, CA 91436
                                                                                                                                              $144,727.79
24 Maitland is My Land II LLC          c/o Adam J Tiktin
     4941 Southwest 38th Way           P: 786-522-7039                        Landlord
     Fort Lauderdale, FL 33312

                                                                                                                                              $143,897.43
25
     New Castle Corporation            Attn: CEO or General Counsel
     641 Danbury Rd                    P: 203-925-8370                        Landlord
     Ridgefield, CT 06877

                                       Attn: Corporate Customer                                                                               $143,316.86
26
     Republic Services Inc             Experience
     18500 N Allied Way                P: 480-627-2700                     Trash services
     Phoenix, AZ 85054-6164            corporateoffice@republicservice
                                       s.com
                                                                                                                                              $134,383.50
27 Chandler's Air Conditioning &       Attn: Adelphia Inc
   Refrigeration                                                     Air conditioning &
                                       P: 714-973-1771; 310-323-2665
   1702 W Fifth Street                                                  refrigeration
                                       info@chandlersair.net
   Santa Ana, CA 92703-2899

                                       Attn: CEO or General Counsel                                                                           $128,394.88
28
                                       P: 800-501-1776; 501-748-6250;
     Windstream Holdings Inc           501-748-5342
                                                                      Internet/Wifi - All
     208 E Center St                   F: 330-487-2738
                                                                           locations
     Sheridan, AR 72150                brandi.stafford@windstream.co
                                       m;
                                       scott.l.morris@windstream.com
     BH 15350 S 94th Avenue LLC                                                                                                               $126,237.54
29                                     Attn: CEO or General Counsel
     4700 Millenia Blvd
                                       P: 708-349-6262                        Landlord
     Suite 400
                                       privacy@bucainc.com
     Orlando, FL 32839
     Silver State Refrigeration and                                                                                                           $124,452.71
30                                     Attn: Brian Peterson               Refrigeration and
     HVAC LLC
                                       P: 725-213-7309                         HVAC
     4535 Copper Sage St
                                                                            maintenance
     Las Vegas, NV 89115




  Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                           page 3
                Case 24-80060-sgj11                        Doc 1      Filed 08/05/24 Entered 08/05/24 00:10:31                                     Desc Main
                                                                     Document     Page 21 of 21
  Fill in this information to identify the case:

  Debtor name: BUCA C, LLC

  United States Bankruptcy Court for the: Northern District of Texas
                                                                                                                                                       Check if this is an
  Case number: 24-XXXXX
                                                                                                                                                       amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a              List of Equity Security Holders and Corporate
                                                   Ownership Statement
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

8/4/2024                                                                                     /s/ William Snyder

Executed on                                                                                  Signature of individual signing on behalf of debtor
                                                                                             William Snyder

                                                                                             Printed name
                                                                                             Chief Restructuring Officer

                                                                                             Position or relationship to debtor
